Case 1:13-cv-02035-RBJ Document 28 Filed 04/23/14 USDC Colorado Page 1 of 13




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                  Judge R. Brooke Jackson

Civil Action No 13-cv-02035-RBJ

AUTUMN BRIN, individually, and on behalf or her son,
DEVON HOFFMAN, a minor,

       Plaintiffs,

v.

ACI MOTOR FREIGHT, INC.,
ROBERT L. CLAIBOURN, III,
GIBSON & ASSOCIATES, INC.,
KROGER CO.,
JOSHUA ROWLEY, and
STEVAN STIEFVATER,

       Defendants.


                                              ORDER


       This is a personal injury action brought in federal court on the basis of diversity of

citizenship pursuant to 28 U.S.C. § 1332. Defendant Kroger Co. moves to dismiss for lack of

subject matter jurisdiction, specifically, the lack of complete diversity of citizenship between the

plaintiffs, on one side, and all defendants, on the other side [ECF No. 6]. Defendant Gibson &

Associates, Inc. moves to dismiss on the same basis and, alternatively, for lack of personal

jurisdiction as to it. [ECF No. 7]. Initially, Ms. Brin did not respond to either motion. The Court

sua sponte issued an order for her to explain whether she wished to continue her case in federal

court if the non-diverse defendant, Mr. Stiefvater, were dismissed, and also to show cause as to

whether this Court has personal jurisdiction over defendant Gibson & Associates, Inc. The Court

invited the other parties to submit briefing on these issues. Ms. Brin responded to the motions to


                                                 1
Case 1:13-cv-02035-RBJ Document 28 Filed 04/23/14 USDC Colorado Page 2 of 13




dismiss and this Court’s order to show cause, [ECF No. 13], and the other parties weighed in as

well [ECF Nos. 12, 14, 17].

       Looking for more evidence on the matter of personal jurisdiction over Gibson &

Associates, the Court held an evidentiary hearing on March 27, 2014. At that hearing, Ms.

Brin’s counsel indicated for the first time that she would be filing a motion to transfer venue to

the District of Kansas, and that her clients were in the process of relocating to Florida. On April

5, 2014, Ms. Brin filed the motion to transfer, [ECF No. 22], and at this point the motion is fully

briefed.

       For the reasons set forth herein, the Court orders the claims against Mr. Stiefvater

dismissed without prejudice pursuant to Rule 21 and grants Ms. Brin’s motion to transfer the

remainder of the case to the U.S. District Court for the District of Kansas.

       I.      Alleged Facts

       For the sake of completeness, the Court repeats the summary of facts from its earlier

order to show cause. Autumn M. Brin alleges that on August 11, 2011 she and her minor son

Devon Hoffman were passengers in a car being driven by defendant Stevan Stiefvater. They

were traveling southbound in the left lane of I-135 in Kansas, behind a Kroger Co. van being

driven by defendant Joshua Rowley, which in turn was behind a semi-truck owned by defendant

ACI Motor Freight and driven by defendant Robert L. Claibourn, III. Suddenly an unknown

employee of defendant Gibson & Associates, which was performing construction work on the

highway, held up a stop sign for traffic in the left lane. Claibourn sharply braked the ACI truck,

causing it to jack-knife in front of the Kroger van which crashed into the truck. The Stiefvater

car in turn crashed into the van. Ms. Brin and her son were injured. Plaintiffs bring separate




                                                 2
Case 1:13-cv-02035-RBJ Document 28 Filed 04/23/14 USDC Colorado Page 3 of 13




negligence-based claims against (1) Gibson; (2) Claibourn; (3)-(5) ACI; (6) Rowley; (7)-(9)

Kroger; and (10) Stiefvater.

        II.      Discussion

                 a. Time of Filing Rule.

        The sole alleged basis for federal jurisdiction is diversity of citizenship pursuant to 28

U.S.C. § 1332. As this Court noted in its order to show cause, it is well settled that in order for

there to be diversity jurisdiction there must be complete diversity of citizenship between the

plaintiffs and all defendants. Ravenswood Inv. Co., L.P. v. Avalon Corr. Services, 651 F.3d

1219, 1223 (10th Cir. 2011) (“When jurisdiction is premised on diversity of citizenship . . . each

plaintiff must be diverse from each defendant. . . .”) (citing Newman-Green, Inc. v. Alfonzo-

Larrain, 490 U.S. 826, 829 & n.1 (1989)). In response to defendants’ motions to dismiss and

this Court’s order to show cause, Ms. Brin did not appear to deny that Mr. Stiefvater is a non-

diverse defendant and must be dismissed from this case if there is any chance of preserving

diversity jurisdiction. [ECF No. 13 at 2.]

        Now, however, Ms. Brin appears to believe that complete diversity exists because she

and her son are in the process of moving to Florida. She is mistaken. Citizenship is determined

at the time of filing. Freeport-McMoRan, Inc. v. K N Energy, Inc., 498 U.S. 426, 428 (1991).

Whether Ms. Brin and her son plan to move to Florida is legally irrelevant for purposes of

establishing complete diversity. Her complaint lists herself, her son, and defendant Stiefvater as

residents of Colorado. [ECF No. 1.] That alone illustrates the absence of complete diversity at

the time of filing. 1

1
  Furthermore, in the affidavit that Ms. Brin attaches to her motion for transfer, she claims that
she was “served with an eviction notice [at her Colorado residence] on February 27, 2014.”
[ECF No. 22, Ex. 1.] This suggests that Ms. Brin may in fact reside in Colorado at the present
time.
                                                  3
Case 1:13-cv-02035-RBJ Document 28 Filed 04/23/14 USDC Colorado Page 4 of 13




                b. Rule 21 Dismissal.

         When a non-diverse defendant threatens to destroy federal jurisdiction in a given case,

the court can sever and dismiss that defendant without necessarily dismissing the entire case.

Fed. R. Civ. P. 21. However, if the non-diverse defendant is an indispensable party the better

option may be dismissal of the case. See Fed. R. Civ. P. 19. For the reasons that follow, I

conclude that Mr. Stiefvater is not an indispensable party, so the case may proceed in federal

court.

         Under Rule 19, deciding whether a party is indispensable is a two-step process. First, the

court must determine whether the party is “required.” Under the rules, a required party is a

         person who is subject to service of process and whose joinder will not deprive the
         court of subject-matter jurisdiction must be joined as a party if: (A) in that
         person’s absence, the court cannot accord complete relief among existing parties;
         or (B) that person claims an interest relating to the subject of the action and is so
         situated that disposing of the action in the person’s absence may: (i) as a practical
         matter impair or impede the person’s ability to protect the interest; or (ii) leave an
         existing party subject to a substantial risk of incurring double, multiple, or
         otherwise inconsistent obligations because of the interest.

Fed. R. Civ. P. 19(a). The Advisory Committee Notes clarify that this test “is not at variance

with the settled authorities holding that a tortfeasor with the usual ‘joint-and-several’ liability is

merely a permissive party to an action against another with like liability.” Id. (citations omitted).

Rule 20 is also instructive on this point. It indicates that additional defendants may be joined if

“any right to relief is asserted against them jointly, severally, or in the alternative with respect to

or arising out of the same transaction, occurrence, or series of transactions or occurrences; and . .

. any question of law or fact common to all defendants will arise in the action.” Fed. R. Civ. P.

20(a)(2). Therefore in situations where defendants are jointly, severally, or jointly and severally

liable, individual defendants are typically permissive parties, not required parties.

                                                   4
Case 1:13-cv-02035-RBJ Document 28 Filed 04/23/14 USDC Colorado Page 5 of 13




       Here, Ms. Brin brings claims against Mr. Stiefvater and others arising out of a car

accident that occurred in Kansas. As a federal court siting in diversity, this Court would apply

Kansas substantive law in this case. In their briefs, the parties have pointed out that Kansas has

adopted a comparative negligence statute and has replaced joint and several liability with several

liability. Defendant ACI argues that Kansas’s negligence statute requires joinder of all potential

tortfeasors—in other words there is no procedure for designating a tortfeasor as a non-party—

and therefore Mr. Stiefvater is an indispensable party. See K.S.A. 60-258a(c).

       In the decades since the passage of Kansas’s comparative negligence statute, both federal

and state courts have grappled with its application in diversity settings. It is true that the statute

states that “[o]n motion of any party against whom a claim is asserted for negligence resulting in

death, personal injury, property damage or economic loss, any other person whose causal

negligence is claimed to have contributed to the [harm] must be joined as an additional party.”

Id. However, state and federal courts, including the Tenth Circuit, have indicated that this is a

procedural mechanism that “is not outcome determinative, and is not binding on the federal

courts.” Hefley v. Textron, Inc., 713 F.2d 1487, 1497 (10th Cir. 1983) (footnote omitted); see

also Stueve v. Am. Honda Motors Co., Inc., 457 F. Supp. 740, 750 (D. Kan. 1978) (noting that

“federal courts of this district have viewed this provision as merely a procedural device

inapplicable in federal courts”).

       The seminal case appears to be from the U.S. District Court in the District of Kansas. In

Greenwood v. McDonough Power Equip., Inc., 437 F. Supp. 707, 709 (D. Kan 1977), the court

found that granting defendants the substantive right to join any potential tortfeasor would defeat

diversity jurisdiction in virtually all tort actions arising in Kansas. Finding no evidence that the

Kansas legislature intended such a result, the court went on to apply the tests for a required party



                                                   5
Case 1:13-cv-02035-RBJ Document 28 Filed 04/23/14 USDC Colorado Page 6 of 13




under Fed. R. Civ. P. 19(a). In order to determine whether any of the defendants in that case

would be subject to double, multiple, or otherwise inconsistent obligations if the non-diverse

defendants were dismissed, the court differentiated between the substantive and procedural

portions of the comparative negligence statute.

       Substantively, the statute grants the “right to have [a defendant’s] liability for the

damages to which plaintiff is entitled measured by [its] share of the total negligence.” Id. at 710;

see also Hefley, 713 F.2d at 1496 (“Thus, under the Kansas law of comparative negligence, a

defendant has a right to have the fault of all participants in an occurrence measured in one action,

and to reduce his or her liability by the amount of fault attributable to the other participants,

irrespective of whether they are joined as parties or are immune from liability.”); Brown v. Keill,

224 Kan. 195, 207 (1978). Put another way, defendants in Kansas are no longer jointly liable for

the damages attributed to joint tortfeasors.

       The court contrasted these substantive rights with the procedural directive to join all

potential tortfeasors upon a motion by any defendant. That procedural component should not be

allowed to destroy federal jurisdiction, according to the district court. Instead, the substantive

rights to have fault apportioned in one action and to be liable for no more than the damages

attributable to a defendant’s negligence could be protected by an alternative procedure. The

court held that the fault of non-parties could be considered in the apportionment of fault in

subsections (b) and (d). Indeed, according to the court, this process was envisioned by the

drafting committee which states that

       a party to the action may claim that a person or persons other than the parties to
       the action caused or contributed to the injury and damage claimed. That person’s
       percentage of fault must be taken into consideration in determining the total fault
       even though he is not joined as a party.




                                                  6
Case 1:13-cv-02035-RBJ Document 28 Filed 04/23/14 USDC Colorado Page 7 of 13




Greenwood, 437 F. Supp. at 712 (citing P.I.K. Committee’s Comment to P.I.K. 20.05 (1975

Supp.)). Over time, Kansas courts have begun referring to this mechanism as the “phantom

party” concept. See, e.g., Hefley, 713 F.2d at 1496; Thurston v. Page, 168 F.R.D. 655 (D. Kan.

1996). So, contrary to defendant ACI’s position, there does appear to be a mechanism for the

jury to consider the fault of a non-party.

       This process, however, comes at a cost to the plaintiff. Where a plaintiff voluntarily opts

for the federal rather than state forum, she “has accepted the risk of non-joinder. Since the [non-

diverse tortfeasors] cannot be joined without destroying diversity jurisdiction, plaintiff must

forfeit any right of recovery against [them].” Greenwood v. McDonough Power Equip., Inc., 437

F. Supp. 707, 715 (D. Kan. 1977).

       One case—albeit one the parties failed to identify—deserves a brief discussion. In

Thurston v. Page, 168 F.R.D. 655 (D. Kan. 1996), the district court found a non-diverse

tortfeasor to be indispensable under Fed. R. Civ. P. 19(a) and dismissed the entire case. There,

however, the court pointed out that the plaintiff was pursuing a separate claim against the non-

diverse defendant in Missouri state court. That pending state case and the possibility that

Missouri courts would honor Kansas’s one-action doctrine and might allow the plaintiff to

subject the federal defendants to double recovery meant that the non-diverse defendant’s joinder

was “essential for a just adjudication.” Id.

       Here, however, there is no pending state court case arising out of this accident against

any of these defendants (at least to this Court’s knowledge). And if such a case were to be filed

in Kansas, Kansas law would warrant dismissal. Therefore both of the concerns from

Thurston—the possibility of multiple actions and the possibility of double recovery—are not

present here.



                                                 7
Case 1:13-cv-02035-RBJ Document 28 Filed 04/23/14 USDC Colorado Page 8 of 13




       Because Mr. Stiefvater, as a party with potential several liability arising out of this car

accident, is not a required party under the first prong of Rule 19, the Court does not reach the

second prong which states that “[w]hen a person as described in subdivision (a)(1)-(2) cannot be

made a party, the court is to determine whether in equity and good conscience the action should

proceed among the parties already before it, or should be dismissed.” Fed. R. Civ. P. 19(b)

(Advisory Committee Notes); see, e.g., Greenwood, 437 F. Supp at 709-710. He is dismissed

without prejudice in order to preserve diversity.

                 c. Motion to Transfer.

       Mr. Stiefvater’s dismissal brings us back to Ms. Brin’s pending motion to transfer. Ms.

Brin offers two statutory bases for her motion. The first, 28 U.S.C. § 1406(a), allows a district

court to transfer a case filed in the wrong district to any district in which it could have been

brought “if it be in the interest of justice.” [ECF No. 22.] The second, 28 U.S.C. § 1631, states

the following:

       Whenever a civil action is filed in a court . . . and that court finds that there is a
       want of jurisdiction, the court shall, if it is in the interest of justice, transfer such
       action or appeal to any other such court in which the action or appeal could have
       been brought at the time it was filed or noticed, and the action or appeal shall
       proceed as if it had been filed in or noticed for the court to which it is transferred
       on the date upon which it was actually filed in or noticed for the court from which
       it is transferred.

28 U.S.C. § 1631.

       One of the factors to be considered in the interest of justice analysis is “whether the

claims would be time barred if filed anew in the proper forum.” In re Cline, 531 F.3d 1249,

1251 (10th Cir. 2008); see also Grynberg v. Ivanhoe Energy, Inc., 666 F. Supp. 2d 1218, 1239-

40 (noting the considerable discretion given to a court in deciding to transfer under § 1631 but




                                                    8
Case 1:13-cv-02035-RBJ Document 28 Filed 04/23/14 USDC Colorado Page 9 of 13




finding it not in the interest of justice to do so because plaintiffs were not time-barred in the other

forum).

       Defendant ACI Motor Freight, Inc. and ACI driver Robert Claibourn do not oppose the

motion to transfer. [ECF No. 26.] Defendant Kroger Co. and their driver Joshua Rowley do not

oppose the motion “[t]o the extent that the case can be transferred intact to the United States

District Court for the District of Kansas.” [ECF No. 25 at 2.]

       Defendant Gibson & Associates, Inc. stands alone in opposing the motion for transfer.

[ECF No. 27.] Gibson’s argument is, in a nutshell, that (1) this Court presently lacks subject

matter jurisdiction over the case and therefore may not transfer it pursuant to 28 U.S.C. §

1406(a), and (2) transfer of a case under 28 U.S.C. § 1406(a) or § 1631 is only valid if the

transferee court would have had subject matter jurisdiction over the case at the time it was

initially filed. I find both arguments unpersuasive.

       The first argument misses the mark after the dismissal of defendant Stiefvater. Even

Gibson appears to acknowledge the contingent nature of this argument in its briefing: “The

undisputed facts are that complete diversity did not exist at the time the lawsuit was filed and this

Court does not have subject matter jurisdiction. This will be the case as long as Defendant

Stiefvater is a named party to the lawsuit.” [ECF No. 27 at 4.] Mr. Stiefvater is no longer a

named party, complete diversity exists, and this Court has the subject matter jurisdiction to

transfer the case pursuant to Section 1406(a).

       The second argument is more nuanced. The issue, as this Court understands it, is whether

both transfer provisions prevent a court from transferring a case after curing a jurisdictional

defect, even if curing the defect is within the court’s power.




                                                  9
Case 1:13-cv-02035-RBJ Document 28 Filed 04/23/14 USDC Colorado Page 10 of 13




         Common sense should rule here. Ms. Brin could have brought her action in Kansas at the

 time it was filed. True, it would have contained a fatal flaw—the presence of Mr. Stiefvater—

 that would have defeated the court’s subject matter jurisdiction. And yet that court, like this one,

 would have had Rule 21 at its disposal to dismiss Mr. Stiefvater, thereby preserving subject

 matter jurisdiction. It would be illogical to grant the power to dismiss a non-diverse party for

 purposes of preserving jurisdiction to a court in potentially the wrong venue that also potentially

 lacked personal jurisdiction over several parties, but to deny that same court the power to cure

 the defect and transfer the case to a superior district.

         The interests of justice factors favor a transfer in this case. It appears that this Court

 lacks personal jurisdiction over defendants Rowley and Gibson & Associates. If the case were

 not transferred, I would almost certainly dismiss those two parties. The limited evidence offered

 by Ms. Brin (i.e. the fact that Gibson & Associates is a registered contractor for the Colorado

 Department of Transportation (“CDOT”) and that it once submitted a bid to CDOT) does not

 establish the continuous and systematic contacts required for an exercise of general personal

 jurisdiction. See Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 416 (1984).

 These facts certainly do not “render [Gibson & Associates] essentially at home in the forum

 State.” Goodyear Dunlop Tiers Operations, S.A. v. Brown, 131 S.Ct. 2846, 2851 (2011). By

 contrast, the accident that gave rise to Ms. Brin’s lawsuit occurred in Kansas, and I doubt either

 Mr. Rowley or Gibson will dispute the fact that the U.S. District Court for the District of Kansas

 has specific personal jurisdiction over them in this matter. Burger King Corp. v. Rudzewicz, 471

 U.S. 462, 472-73 (1985) (describing specific jurisdiction as arising where the out-of-state

 defendant “purposefully directed his activities at residents of the forum, and the litigation results




                                                   10
Case 1:13-cv-02035-RBJ Document 28 Filed 04/23/14 USDC Colorado Page 11 of 13




 from alleged injuries that arise out of or relate to those activities”) (internal citations and

 quotation marks omitted).

         A transfer of venue will also allow Ms. Brin to preserve her time of filing. Ross v.

 Colorado Outward Bound Sch., 822 F.2d 1524, 1526 (10th Cir. 1987) (holding that “when, in the

 interest of justice, an action is transferred [pursuant to 28 U.S.C. § 1631] from one federal court

 to another federal court to cure a want of jurisdiction, the action shall proceed as if it had been

 filed in the transferee court on the date upon which it was actually filed in the transferor court”).

 See Miller v. Hambrick, 905 F.2d 259, 262 (9th Cir. 1990) (“Normally transfer will be in the

 interest of justice because normally dismissal of an action that could be brought elsewhere is

 ‘time-consuming and justice-defeating.”) (quoting Goldlawr v. Heisman, 369 U.S. 463, 467

 (1962)). Finally, because the accident occurred in Kansas and many of the witnesses reside in

 Kansas, [ECF No. 12 at 2], I find that their interests and the interest in judicial efficiency also

 tips slightly in favor of transferring the case to Kansas.

         Gibson’s arguments appear to be nothing more than a procedural tactic. The company

 does not dispute that a Kansas court would have specific personal jurisdiction over it because the

 events giving rise to the cause of action occurred in Kansas. The U.S. District Court for the

 District of Kansas has subject matter jurisdiction now that Mr. Stiefvater has been dismissed

 pursuant to Fed. R. Civ. P. 21. Moreover, venue would be proper in Kansas under 28 U.S.C. §

 1391(b)(2) (venue is proper in “a judicial district in which a substantial part of the events or

 omissions giving rise to the claim occurred”). 2 Therefore, because the District of Colorado



 2
   Although neither party raised it, 28 U.S.C. § 1404(a) offers an alternative basis for transfer
 even where venue is proper in the transferor court. Chrysler Credit Corp. v. Country Chrysler,
 Inc., 928 F.2d 1509, 1515 n.3 (10th Cir. 1991) (“Section 1404(a) transfers [are] distinguished
 from transfers carried out under 28 U.S.C. § 1406(a). In the case of § 1404(a), both the
 transferor and the transferee court have venue over the action, but it is more efficient to
                                                    11
Case 1:13-cv-02035-RBJ Document 28 Filed 04/23/14 USDC Colorado Page 12 of 13




 lacked personal jurisdiction over Rowley and probably over Gibson & Associates, and because

 dismissal would cause Ms. Brin’s claims to be barred by the Kansas statute of limitations, the

 interests of justice weigh in favor of transfer to the District of Kansas. 3

         The supposedly contrary cases cited by Gibson are off-base. Both Whittaker v. Winner,

 264 F. Supp. 2d 281 (D. Md. 2003) and N.A.A.C.P.-Special Contribution Fund v. Jones, 732 F.

 Supp. 791 (N.D. Ohio 1990) involved alternative grounds for denying the motions to transfer. In

 Whittaker, the court noted the obvious error of filing in Maryland when “none of the allegations

 in the complaint suggest that any of the defendants are subject to personal jurisdiction in

 Maryland, and, in response to [the] court’s inquiry, plaintiffs have not come forward with any

 facts to substantiate such jurisdiction.” Whittaker, 264 F. Supp. 2d at 282. Here, by contrast, it

 was clear all along that Defendants ACI and Kroger were subject to personal jurisdiction in

 Colorado. And while Ms. Brin did not present particularly persuasive evidence that other

 defendants were subject to the Court’s personal jurisdiction, her error was not as egregious as the

 one in Whittaker. In N.A.A.C.P.-Special Contribution Fund, the court could not have relied upon

 Rule 21 to salvage subject matter jurisdiction. In that case, the defendant argued that there was

 an absence of complete diversity because the defendant was a resident of Ohio and the plaintiff,

 an unincorporated association, could not prove that it did not have any members who were

 residents of Ohio. Therefore the court could not dismiss any of the parties in an effort to

 prosecute the action in the latter court. Conversely, in the case of § 1406(a), the transferor court
 lacks venue and must transfer the action in order for it to proceed.”). The Court may invoke this
 provision sua sponte. Lead Indus. Ass’n, Inc. v. Occupational Safety and Health Admin., 610
 F.2d 70, 79 n.17 (2d Cir. 1979).
 3
   The Court is mindful that defendants may believe justice is best served by dismissing this case
 entirely. That is especially true where some haphazard filing on the part of plaintiffs’ counsel
 appears to have turned a relatively simple case into a procedural headache, forcing the parties to
 litigate in Colorado before transferring the case to Kansas where jurisdiction and venue were
 proper all along (with the exception of Mr. Stiefvater). Nonetheless, even the best lawyers make
 occasional mistakes, and it would be exceedingly unjust to punish Ms. Brin for these errors.

                                                   12
Case 1:13-cv-02035-RBJ Document 28 Filed 04/23/14 USDC Colorado Page 13 of 13




 preserve jurisdiction, and it accordingly lacked the power to transfer the case pursuant to Section

 1406.

         Because I find it to be in the interests of justice to transfer this case to the District of

 Kansas, and because this Court has subject matter jurisdiction over the case after the dismissal of

 Mr. Stiefvater pursuant to Rule 21, I grant Ms. Brin’s motion to transfer.


         III.      Order

         1. The Court dismisses plaintiff’s claims against Mr. Stiefvater without prejudice.

         2. Ms. Brin’s motion to transfer venue [ECF No. 22] is GRANTED.

         3. There remain three motions to dismiss in this case. [ECF Nos. 6, 7, 10.] The Court

                issues no ruling regarding these pending motions.


         DATED this 23nd day of April, 2014.

                                                          BY THE COURT:




                                                          ___________________________________
                                                          R. Brooke Jackson
                                                          United States District Judge




                                                    13
